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                      IN THE UNITED STATES DISTRICT COURT                       Style Definition: Heading 2: No underline

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 JOSEPH MULL, individually and on behalf
 of all others similarly situated,

                         Plaintiff,         Case No. 2:24-cv-06083-GJP
              v.                                                                Deleted: Civil Action No. ____________¶


 GOTHAM DISTRIBUTING
 CORPORATION, MVD                           DEMAND FOR JURY TRIAL
 ENTERTAINMENT GROUP, and OLD
 SCHOOL VENTURES, INC., individually
 and collectively d/b/a OLDIES.COM,

                         Defendants.


                    FIRST AMENDED CLASS ACTION COMPLAINT




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                                INTRODUCTION

       Joseph Mull (“Plaintiff”), individually and on behalf of all others similarly

 situated, makes the following allegations pursuant to the investigation of counsel

 and based upon information and belief, except as to allegations pertaining

 specifically to himself or his counsel, which are based on personal knowledge.

                            NATURE OF THE CASE

      1.     Plaintiff brings this action to redress Defendants’ practice of Meta

Platforms, Inc. (“Meta”), formerly known as Facebook, Inc. (“Facebook”), selling,       Formatted: Font: 14 pt


renting, transmitting, and/or otherwise disclosing, to various third parties, records

containing the personal information (including names and addresses) of each of their

customers, along with detailed information revealing the titles and subject matter of

the videos and other audiovisual materials purchased by each customer (collectively

“Personal Viewing Information”) in violation of the Video Privacy Protection Act,

18 U.S.C. §2710 et seq. (“VPPA”).

      2.     Defendants violated the VPPA with respect to their disclosure of

Plaintiff’s and Class members’ Personal Viewing Information in two ways.

      3.     First, Defendants disclosed information that reveals the specific videos

that a particular person (identified by, inter alia, name and address) purchased on

Defendants’ websites (hereinafter, “Personal Viewing Information”) to various third     Deleted: their customers’ Personal Viewing Information
                                                                                        Deleted: third-party recipients

parties, including data appenders, data aggregators, data brokers, data cooperatives,


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aggressive marketing companies, and various third party renters and exchangers of

this data.                                                                              Deleted: , which then appended that information to a
                                                                                        myriad of other categories of personal and demographic data
                                                                                        pertaining to those customers. Defendants re-sell that
       4.     Second, Defendants systematically transmitted (and continue to            Personal Viewing Information (with the appended
                                                                                        demographic information) to other third parties on the open
                                                                                        market.
transmit today) their customers’ Personal Viewing Information to Meta Platforms,        Formatted: Right: 0", Space Before: 0 pt, Add space
                                                                                        between paragraphs of the same style, Tab stops: Not
                                                                                        at 1.08"
Inc. (“Meta”), formerly known as Facebook, Inc. (“Facebook”) using a snippet of
                                                                                        Deleted: personally identifying video purchase information
                                                                                        Deleted: Meta
programming code called the “Meta Pixel,” which Defendants chose to install and

configure on their www.oldies.com website (the “Website”). The information              Deleted: ¶
                                                                                        Formatted: Font: 14 pt

Defendants disclosed (and continue to disclose) to Meta via the Meta Pixel includes     Deleted: Meta


the customer’s Facebook ID (“FID”) and the specific title of the prerecorded video

content each of their customers purchased on their Website. An FID is a unique

sequence of numbers linked to a specific Meta profile.       A Meta profile, in turn,

identifies by name the specific person to whom the profile belongs (and also contains

other personally identifying information about the person).                 Entering

“Facebook.com/[FID]” into a web browser returns the Meta profile of the person to

whom the FID corresponds. Thus, the FID identifies a person more precisely than a

name, as numerous persons may share the same name, but each person’s Facebook

profile (and associated FID) uniquely identifies one and only one person. In the

simplest terms, the Meta Pixel installed by Defendants captures and discloses to

Meta the Personal Viewing Information of Defendants’ customers.                         Deleted: information that reveals the specific videos that a
                                                                                        particular person purchased on Defendants’ websites
                                                                                        (hereinafter, “Personal Viewing Information”)




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       5.     Defendants disclosed and continue to disclose their customers’             Deleted: By these means


 Personal Viewing Information to these various third parties without asking for, let     Deleted: Meta


 alone obtaining, their customers’ consent to these practices.

       6.     The VPPA clearly prohibits what Defendants have done. Subsection

 (b)(1) of the VPPA provides that, absent the consumer’s prior informed, written

 consent, any “video tape service provider who knowingly discloses, to any person,

 personally identifiable information concerning any consumer of such provider shall

 be liable to the aggrieved person for,” 18 U.S.C. § 2710(b)(1), damages in the

 amount of $2,500.00, see id. § 2710(c).

       7.     Thus, while Defendants profit handsomely from their unauthorized

 disclosures of their customers’ Personal Viewing Information to third parties without

 providing prior notice to or obtaining the requisite consent from any of their          Deleted: these


 customers, they do so at the expense of their customers’ privacy and their statutory

 rights under federal law.

      8.     Defendants’ practice of disclosing their customers’ Personal Viewing

Information in violation of the VPPA has invaded Plaintiff’s and the other unnamed

Class members’ privacy and resulted in a barrage of unwanted junk mail to their home
                                                                                         Formatted: Font: 12 pt
addresses and e-mail inboxes.                                                            Deleted: <#>Defendants’ disclosures are also dangerous
                                                                                         because they allow for the targeting of particularly
                                                                                         vulnerable members of society. For example, and as a result
      9.     In an era when the collection and monetization of consumer data             of Defendants’ disclosures of Personal Viewing Information,
                                                                                         any person or entity could buy a list with the names of all
                                                                                         men residing in a particular zip code who have spent $100 or
proliferate on an unprecedented scale, it is important that companies are held           more on movies during the past 12 months. Such a list is
                                                                                         available for sale for approximately $41.00 and $72.00 per
                                                                                         thousand customers listed.¶


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accountable for the exploitation of their customers’ sensitive information. Defendants

chose to disregard Plaintiff’s and thousands of other consumers’ statutorily protected

privacy rights by intentionally and knowingly disclosing their Personal Viewing              Deleted: <#>(a) releasing


Information to third parties in the data-aggregation and brokerage marketplace and to        Deleted: <#>into
                                                                                             Deleted: <#>and (b) directly disseminating such
                                                                                             information from their websites to
Meta. Accordingly, on behalf of himself and the putative Class members defined
                                                                                             Deleted: <#>es

below, Plaintiff brings this First Amended Class Action Complaint against Defendants

to put a stop to and obtain redress for their violations of VPPA.                            Deleted: <#>for intentionally and unlawfully disclosing
                                                                                             their Personal Viewing Information
                                                                                             Deleted: <#>1
                                        PARTIES

   I.         Plaintiff Joseph Mull

        10.     Plaintiff is, and at all times relevant hereto was, a citizen and resident

of Arenzville, Illinois.

        11.     Plaintiff is, and at all times relevant hereto was (including when

purchasing, requesting, and obtaining the prerecorded video material from

Defendants’ website), a user of Meta with a Facebook account and profile which

was assigned a unique FID.

        12.     On or about August 3, 2023, Plaintiff purchased prerecorded video

material from Defendants’ oldies.com website by requesting and paying for such

material, providing his name, email address, and home address for shipment of such

material. Defendants completed their sale of goods to Plaintiff by shipping the

prerecorded video material he purchased to the address he provided in his order.


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Accordingly, Plaintiff requested or obtained, and is therefore a consumer of,

prerecorded video material sold by Defendants on their website.

      13.      Prior to and at the time he purchased prerecorded video material from

Defendants’ oldies.com website, Defendants did not notify Plaintiff that it would

disclose the Personal Viewing Information of their customers generally or that of

Plaintiff in particular, and Plaintiff has never consented, agreed, authorized, or

otherwise permitted Defendants to disclose his Personal Viewing Information to

third parties. Plaintiff has never been provided any written notice that Defendants

sell, rent, license, exchange, or otherwise disclose their customers’ Personal Viewing

Information, or any means of opting out of such disclosures of his Personal Viewing

Information.
                                                                                         Deleted: <#>At all times relevant hereto, including when
      14.      Nonetheless, when Plaintiff purchased prerecorded video material from     purchasing, requesting, and obtaining the prerecorded video
                                                                                         material from Defendants’ website, Plaintiff had a Meta
                                                                                         account, a Meta profile, and an FID associated with such
Defendants on their oldies.com website, Defendants disclosed to Meta Plaintiff’s         profile. ¶
                                                                                         When
                                                                                         Deleted: <#>separately
FID coupled with the specific title of the prerecorded video or video materials he
                                                                                         Deleted: To illustrate Defendants’ disclosures to Meta,
                                                                                         when Plaintiff purchased the “Witchrap” DVD, the specific
purchased (as well as the URL where such video is available for purchase), among         title of the prerecorded video, the product code: 70946W,
                                                                                         and his request to “checkout” and purchase this DVD was
                                                                                         transmitted to Meta alongside Plaintiff’s FID as seen in the
other information concerning Plaintiff and the device on which he used to make the       exemplar source code below:             ¶
                                                                                         ¶
                                                                                         ¶
purchase.                                                                                Prior to and at the time he purchased prerecorded video
                                                                                         material from Defendants, Defendants did not notify Plaintiff
                                                                                         that it would disclose the Personal Viewing Information of
      15.      Additionally, following Plaintiff’s purchases of prerecorded video        their customers generally or that of Plaintiff in particular, and
                                                                                         Plaintiff has never consented, agreed, authorized, or
                                                                                         otherwise permitted Defendants to disclose his Personal
materials on Defendants’ oldies.com website, Defendants sold, rented, exchanged          Viewing Information to third parties. Plaintiff has never
                                                                                         been provided any written notice that Defendants sell, rent,
                                                                                         license, exchange, or otherwise disclose their customers’
for data pertaining to other companies’ customers, transmitted, and/or otherwise         Personal Viewing Information, or any means of opting out of
                                                                                         such disclosures of his Personal Viewing Information. ¶
                                                                                         Deleted: nonetheless


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disclosed Plaintiff’s Personal Viewing Information to data appenders, data                   Deleted: , either directly or through an intermediary or
                                                                                             intermediaries,
                                                                                             Deleted: – his FID coupled with the specific title of the
aggregators, data brokers, data cooperatives, aggressive marketing companies, and            video he purchased (as well as the URL where such video is
                                                                                             available for purchase) to Meta and Plaintiff’s name, postal
                                                                                             address, e-mail address, gender, age, and income, as well as
various third party renters and exchangers of this data (anyone who wanted to                the particular audio-visual product(s) Plaintiff purchased
                                                                                             from Defendants (i.e., the titles of the prerecorded video
                                                                                             material purchased) and the amount of money spent by
acquire it).                                                                                 Plaintiff on those purchases –
                                                                                             Deleted: data miners, data appenders, data aggregators,
         16.     Because   Defendants    disclosed       Plaintiff’s   Personal   Viewing    marketing companies, and/or other third parties, including
                                                                                             without limitation NextMark, during the relevant time period
                                                                                             Deleted: <#>Plaintiff has never consented, agreed,
Information to Meta and numerous other third parties without prior notice or consent         authorized, or otherwise permitted Defendants to disclose his
                                                                                             Personal Viewing Information to Meta or any third party. In
                                                                                             fact, Defendants have never even provided Plaintiff with
during the applicable statutory period, Defendants violated Plaintiff’s rights under         written notice of their practice of disclosing their customers’
                                                                                             Personal Viewing Information to Meta or any other third
                                                                                             party.¶
the VPPA and invaded his statutorily conferred interest in keeping such information          Deleted: <#>(including his FID, the tile of the prerecorded
                                                                                             video material he purchased from Defendants’ website, and
                                                                                             the URL where such video is available for purchase)
(which bears on his personal affairs and concerns) private.

   II.         Defendant Gotham Distributing Corporation

         17.     Defendant Gotham Distributing Corporation (“Defendant Gotham”) is

a domestic business corporation existing under the laws of the Commonwealth of

Pennsylvania with a principal place of business at 60 Portland Road, West

Conshohocken, Pennsylvania 19428.                                                            Deleted: During the relevant period, Defendant Gotham
                                                                                             operated and maintained the Website www.oldies.com,
                                                                                             where it sells music CDs, vinyl records, and prerecorded
   III.        Defendant MVD Entertainment Group                                             video content including movies and TV shows in the form of
                                                                                             DVDs and Blu-rays.
                                                                                                Deleted: Music Video Distributors Inc.
         18.     Defendant MVD Entertainment Group (“Defendant MVD”) is a                    Formatted: Font: Bold
                                                                                             Formatted: Font: Bold
domestic business corporation existing under the laws of the Commonwealth of
                                                                                             Deleted: Music Video Distributors Inc.
                                                                                             Formatted: Indent: First line: 0.5"
Pennsylvania with a principal place of business at 203 Windsor Road, Pottstown, PA

19464.         Defendant MVD owns and operates a full-service music and movie                Deleted: subsidiary known as MVD Entertainment Group,
                                                                                             which collectively acts as a

distribution firm from a 30,000-square-foot warehouse.                                       Formatted: Font: 14 pt, Font color: Text 1




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   IV.      Defendant Old School Ventures, Inc.

      19.     Defendant OSV is a domestic business corporation existing under the

laws of the Commonwealth of Pennsylvania with a principal place of business at

Defendant MVD’s former headquarters, 203 Windsor Road, Pottstown, PA 19464.

      20.     In or around 2023, Defendants Gotham and MVD entered into a joint        Deleted: During the statutory periodOn or around 2022
                                                                                       Deleted: [[date]]
enterprise to form a new music and film direct-to-consumer business under the name     Deleted: entered a
                                                                                       Deleted: between the

Old School Ventures, Inc. (“Defendant OSV”). Thus, since March 29, 2023,               Deleted: companies to
                                                                                       Deleted: run, service, and administrate

Defendants Gotham and MVD have jointly owned, operated, controlled, and                Deleted:
                                                                                       Deleted: venerable

directed every aspect of Defendant OSV’s business and day-to-day activities,           Deleted: This contractual and partnership relationship
                                                                                       between Defendants Gotham and MVD
                                                                                       Deleted: [[date]]
including the sale of prerecorded video materials to consumers on the oldies.com       Formatted: Not Highlight

website and the disclosures of oldies.com customers’ Personal Viewing Information

to third parties, including to Meta and to the various renters, exchangers, and

purchasers of lists containing customers’ Personal Viewing Information.                Deleted: dictated their ownership and control over the new
                                                                                       entity now known as Old School Ventures, Inc. (“Defendant
                                                                                       OSV”)…
Accordingly, since March 29, 2023, Defendant OSV has exercised no independent          Deleted: [[date]]
                                                                                       Formatted: Not Highlight
control over its business activities, but rather has operated as a mere conduit of     Deleted: That contractual and partnership relationship
                                                                                       specifically detailed how Defendants Gotham and MVD
                                                                                       required OSV to operate the www.oldies.com website,
Defendants Gotham and MVD, under their exclusive control and direction, for the        facilitate third-party disclosures to entities like NextMark,
                                                                                       and complete orders using the MVD common warehouse.
                                                                                       Accordingly, Defendant OSV
purpose of enabling the two companies to collectively sell their respective products   Deleted: was created, by design, to
                                                                                       Deleted: for
to consumers and to then monetize, by way of the disclosures alleged herein, the       Deleted: Defendants Gotham and MVD

Personal Viewing Information of the persons who purchased those products.




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       21.     Indeed, the “Privacy Policy”2 accessible on the oldies.com website

states (and stated during the relevant period) that “[t]he terms “OLDIES.com,” “we,”                   Deleted: "
                                                                                                       Deleted: "

and “us” include Old School Ventures, Inc. d/b/a OLDIES.com and our affiliates                         Deleted: "
                                                                                                       Deleted: "

and subsidiaries,” and that “[t]his Policy applies to all OLDIES.com’s operating                       Deleted: "
                                                                                                       Deleted: "

divisions, subsidiaries, affiliates, and branches, any additional subsidiary,                          Deleted: u
                                                                                                       Formatted: Font: Bold, Underline

affiliate, or branch of OLDIES.com that we may subsequently form.”                          3
                                                                                                The    Deleted: '
                                                                                                       Formatted: Font: Bold

Privacy Policy also states that “[t]hrough our Services, OLDIES.com may allow                          Formatted: Font: Bold, Underline


Third-Party advertising partners to set tracking tools (e.g., cookies) to collect

information regarding your activities (e.g., your IP address, page(s) visited, time of

day). We may also share such de-identified information as well as selected Personal                    Formatted: Font: Bold, Underline


Information (such as demographic information and past purchase history) we have

collected with Third-Party advertising partners.”4 The Privacy Policy further states

that “[w]e may allow access to other data collected by the Site to facilitate transmittal              Formatted: Font: Bold, Underline


of information that may be useful, relevant, valuable or otherwise of interest to you,”

and that “OLDIES.com may share Personal Information with our business partners,                        Formatted: Font: Bold, Underline


and affiliates for our and our affiliates' internal business purposes or to provide you




2
        Notably, at no time prior to a customer purchasing a product from Defendants’ oldies.com       Formatted: Font: 12 pt
website is the customer put on notice of the Privacy Policy or asked to agree to the Privacy Policy;
accordingly, neither Plaintiff nor any other Class member manifested their assent to the terms of      Deleted: Plaintff
the oldies.com Privacy Policy.                                                                         Formatted: Font: 12 pt
3
        https://www.oldies.com/about/privacy.cfm.
4
        Id.                                                                                            Formatted: Font: Italic


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with a product or service that you have requested.”5                                 Formatted: Font:


      22.      Thus, during the relevant period, Defendants Gotham and MVD           Deleted: <#>Defendant Old School Ventures, Inc.
                                                                                     (“Defendant OSV”) is a domestic business corporation
                                                                                     existing under the laws of the Commonwealth of
(including through their joint venture known as Defendant OSV) have collectively     Pennsylvania with a principal place of business at Defendant
                                                                                     MVD’s former headquarters, 203 Windsor Road, Pottstown,
                                                                                     PA 19464. During the relevant period, Defendant OSV
operated, maintained, overseen, and directed and controlled all business conducted   operated and maintained the Website www.oldies.com,
                                                                                     where it sells music CDs, vinyl records, and prerecorded
                                                                                     video content including movies and TV shows in the form of
                                                                                     DVDs and Blu-rays.¶
via the website oldies.com, including the sales of prerecorded video materials to    During the relevant period, Defendant OSV operated
                                                                                     www.oldies.com at the direction and instruction of
consumers, as well as all of the disclosures of oldies.com customers’ Personal       Defendants Gotham and MVD without independent control
                                                                                     in accordance with the partnership relationship between
                                                                                     Defendants Gotham and MVD.
Viewing Information at issue in this case.                                           Deleted: <#>


                          JURISDICTION AND VENUE

      23.     The Court has subject-matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 2710.

      24.     Personal jurisdiction and venue are proper because Defendants

maintain their headquarters and principal places of business in Montgomery County,

PA, within this judicial District.

                     VIDEO PRIVACY PROTECTION ACT

      25.      The VPPA prohibits companies (like Defendants) from knowingly

disclosing to third parties information that personally identifies consumers (like   Deleted: (like Meta)


Plaintiff) as having requested or obtained particular videos or other audio-visual

materials.




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      Id.                                                                            Formatted: Font: Italic


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      26.     Specifically, subject to certain exceptions that do not apply here, the

VPPA prohibits “a video tape service provider” from “knowingly disclos[ing], to

any person, personally identifiable information concerning any consumer of such

provider[.]” 18 U.S.C. § 2710(b)(1). The statute defines a “video tape service

provider” as “any person, engaged in the business . . . of rental, sale, or delivery of

prerecorded video cassette tapes or similar audio visual materials,” 18 U.S.C. §

2710(a)(4). It defines a “consumer” as “a renter, purchaser, or subscriber of goods

or services from a video tape service provider.”           18 U.S.C. § 2710(a)(1).

“‘[P]ersonally identifiable information’ includes information which identifies a

person as having requested or obtained specific video materials or services from a

video tape service provider.” 18 U.S.C. § 2710(a)(3).

      27.     Leading up to the VPPA’s enactment in 1988, members of the United

States Senate warned that “[e]very day Americans are forced to provide to

businesses and others personal information without having any control over where

that information goes.” Id.     Senators at the time were particularly troubled by

disclosures of records that reveal consumers’ purchases and rentals of videos and

other audiovisual materials because such records offer “a window into our loves,

likes, and dislikes,” such that “the trail of information generated by every

transaction that is now recorded and stored in sophisticated record-keeping systems




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is a new, more subtle and pervasive form of surveillance.” S. Rep. No. 100-599 at

7-8 (1988) (statements of Sens. Simon and Leahy, respectively).

      28.     Thus, in proposing the Video and Library Privacy Protection Act

(which later became the VPPA), Senator Patrick J. Leahy (the senior Senator from

Vermont from 1975 to 2023) sought to codify, as a matter of law, that “our right to

privacy protects the choice of movies that we watch with our family in our own

homes.” 134 Cong. Rec. S5399 (May 10, 1988). As Senator Leahy explained at

the time, the personal nature of such information, and the need to protect it from

disclosure, is the raison d’être of the statute: “These activities are at the core of any

definition of personhood. They reveal our likes and dislikes, our interests and our

whims. They say a great deal about our dreams and ambitions, our fears and our

hopes. They reflect our individuality, and they describe us as people.” Id.

      29.     While these statements rang true in 1988 when the act was passed, the

importance of legislation like the VPPA in the modern era of data mining is more

pronounced than ever before. During a more recent Senate Judiciary Committee

meeting, “The Video Privacy Protection Act: Protecting Viewer Privacy in the 21 st

Century,” Senator Leahy emphasized the point by stating: “While it is true that

technology has changed over the years, we must stay faithful to our fundamental

right to privacy and freedom. Today, social networking, video streaming, the ‘cloud,’




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mobile apps and other new technologies have revolutionized the availability of

Americans’ information.”6

       30.      Former Senator Al Franken may have said it best: “If someone wants

to share what they watch, I want them to be able to do so . . . But I want to make

sure that consumers have the right to easily control who finds out what they

watch—and who doesn’t. The Video Privacy Protection Act guarantees them that

right.”7

       31.      In this case, however, Defendants deprived Plaintiff and numerous

other similarly situated persons of that right by systematically (and surreptitiously)

disclosing their Personal Viewing Information to various third parties, without              Deleted: Meta


providing notice to (let alone obtaining consent from) any of them, as explained in

detail below.

                              BACKGROUND FACTS

           I.    Consumers’ Personal Information Has Real Market Value

       32.      In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity


6
  The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate
Judiciary Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the-
21stcentury.
7
   Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
franken.senate.gov (Jan. 31, 2012).


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to the acts of collecting and transmitting and flowing of information, unlike anything

we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

defined by the existing data on themselves.”8

       33.      Over two decades later, Commissioner Swindle’s comments ring truer

than ever, as consumer data feeds an information marketplace that supports a 26

billion dollar per year online advertising industry in the United States.9

       34.      The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

       Most consumers cannot begin to comprehend the types and amount of
       information collected by businesses, or why their information may be
       commercially valuable. Data is currency. The larger the data set, the
       greater potential for analysis – and profit.10

       35.      In fact, an entire industry exists while companies known as data

aggregators purchase, trade, and collect massive databases of information about




8
 Transcript, The Information Marketplace (Mar. 13, 2001), at 8-11, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-merging-
and-exchanging-consumer-data/transcript.pdf.
9
 See Julia Angwin and Emily Steel, Web’s Hot New Commodity: Privacy, Wall Street
Journal (Feb. 28, 2011), available at
https://www.wsj.com/articles/SB10001424052748703529004576160764037920274.

10
      Statement of FTC Cmr. Harbour (Dec. 7, 2009), at 2, available at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-privacy-
roundtable/091207privacyroundtable.pdf


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consumers. Data aggregators then profit by selling this “extraordinarily intrusive”

information in an open and largely unregulated market.11

       36.     The scope of data aggregators’ knowledge about consumers is

immense: “If you are an American adult, the odds are that [they] know[] things like

your age, race, sex, weight, height, marital status, education level, politics, buying

habits, household health worries, vacation dreams—and on and on.”12

       37.     Further, “[a]s use of the Internet has grown, the data broker industry

has already evolved to take advantage of the increasingly specific pieces of

information about consumers that are now available.”13

       38.     Recognizing the severe threat the data mining industry poses to

consumers’ privacy, on July 25, 2012, the co-chairmen of the Congressional Bi-

Partisan Privacy Caucus sent a letter to nine major data brokerage companies seeking

information on how those companies collect, store, and sell their massive collections

of consumer data, stating in pertinent part:


11
  See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31, 2012),
available at http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-doing-right-now/ .
12
  N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times (June 16,
2012), available at https://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of-
consumer-database-
marketing.html#:~:text=It's%20called%20the%20Acxiom%20Corporation,to%20know%20muc
h%2C%20much%20more.
13
   Letter from Sen. J. Rockefeller IV, Sen. Cmtee. On Commerce, Science, and
Transportation, to S. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012) available at
https://www.commerce.senate.gov/services/files/3bb94703-5ac8-4157-a97b-%20a658c3c3061c.


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              By combining data from numerous offline and online sources,
              data brokers have developed hidden dossiers on every U.S.
              consumer. This large[-]scale aggregation of the personal
              information of hundreds of millions of American citizens raises
              a number of serious privacy concerns.14

       39.     Data aggregation is especially troublesome when consumer

information is sold to direct-mail advertisers. In addition to causing waste and

inconvenience, direct-mail advertisers often use consumer information to lure

unsuspecting consumers into various scams, including fraudulent sweepstakes,

charities, and buying clubs.          Thus, when companies like Defendants share

information with data aggregators, data cooperatives, and direct-mail advertisers,

they contribute to the “[v]ast databases” of consumer data that are often “sold to

thieves by large publicly traded companies,” which “put[s] almost anyone within the

reach of fraudulent telemarketers” and other criminals.15

       40.     Disclosures like Defendants’ are particularly dangerous to the elderly.

“Older Americans are perfect telemarketing customers, analysts say, because they




14
  See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving
Consumers’      Personal Information, Website of Sen. Markey (July 24, 2012),
available at https://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-
query-data-brokers-about-practices-involving-consumers-personal-information.
15
  See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times (May 20, 2007),
available at https://www.nytimes.com/2007/05/20/business/20tele.html.


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are often at home, rely on delivery services, and are lonely for the companionship

that telephone callers provide.”16

           41.     The FTC notes that “[t]he elderly often are the deliberate targets of

fraudulent telemarketers who take advantage of the fact that many older people have

cash reserves or other assets to spend on seemingly attractive offers.”17

           42.     Indeed, an entire black market exists while the personal information

of vulnerable elderly Americans is exchanged. Thus, information disclosures like

Defendants’ are particularly troublesome because of their cascading nature: “Once

marked as receptive to [a specific] type of spam, a consumer is often bombarded with

similar fraudulent offers from a host of scam artists.”18

           43.     Defendants are not alone in violating their customers’ statutory rights

and jeopardizing their well-being in exchange for increased revenue: disclosing

customer information to data aggregators, data appenders, data cooperatives, direct

marketers, Meta, and other third parties has become a widespread practice across              Deleted: and


various consumer products industries. Unfortunately for consumers, however, this

growth has come at the expense of their most basic privacy rights.




16
     Id.
17
   Prepared Statement of the FTC on “Fraud Against Seniors” before the Special Committee on
Aging, United States Senate (August 10, 2000).
18
   Id.


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           II.     Consumers Place Monetary Value on Their Privacy and Consider
                            Privacy Practices When Making Purchases

             44.     As the data aggregation industry has grown, so has consumer concerns

 regarding personal information.

             45.     A survey conducted by Harris Interactive on behalf of TRUSTe, Inc.

 showed that 89 percent of consumers polled avoid doing business with companies

 who they believe do protect their privacy online.19 As a result, 81 percent of

 smartphone users polled said that they avoid using smartphone apps that they don’t

 believe protect their privacy online.20

             46.     Thus, as consumer privacy concerns grow, consumers increasingly

 incorporate privacy concerns and values into their purchasing decisions, and

 companies viewed as having weaker privacy protections are forced to offer greater

 value elsewhere (through better quality and/or lower prices) than their privacy-

 protective competitors. In fact, consumers’ personal information has become such

 a valuable commodity that companies are beginning to offer individuals the

 opportunity to sell their personal information themselves.21


19
   See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
http://www.theagitator.net/wp-content/uploads/012714_ConsumerConfidenceReport_US1.pdf.
20
     Id.
21
  See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal Data,
N.Y. Times (Feb. 12, 2012), available at https://www.nytimes.com/2012/02/13/technology/start-
ups-aim-to-help-users-put-a-price-on-their-personal-data.html.


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            47.   These companies’ business models capitalize on a fundamental tenet

 underlying the personal information marketplace: consumers recognize the

 economic value of their private data. Research shows that consumers are willing to

 pay a premium to purchase services from companies that adhere to more stringent

 policies of protecting their personal data.22

            48.   Thus, in today’s digital economy, individuals and businesses alike

 place a real, quantifiable value on consumer data and corresponding privacy rights.23

 As such, where a business offers customers a product or service that includes

 statutorily guaranteed privacy protections, yet fails to honor these guarantees, the

 customer receives a product or service of less value than the product or service paid

 for.

     III.     Defendants Unlawfully Sell, Rent, Transmit, And Otherwise Disclose
                       Their Customers’ Personal Viewing Information

        49.       Defendants maintain a vast digital database comprised of their

customers’ Personal Viewing Information, including the names and addresses of




22
   See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on
Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011); see also European
Network and Information Security Agency, Study on Monetizing Privacy (Feb. 27, 2012), available
at https://www.enisa.europa.eu/publications/monetising-privacy.

23
  See Hann, et al., The Value of Online Information Privacy: An Empirical Investigation
(Oct. 2003) at 2, available at https://www.comp.nus.edu.sg/~ipng/research/privacy.pdf.


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each customer and information reflecting the titles of specific videos and other

audio-visual products that each of their customers has purchased.

         50.     During the time period relevant to this action, Defendants have

monetized these databases by renting, selling, or otherwise disclosing their

customers’ Personal Viewing Information to data appenders, data aggregators, data

brokers, data cooperatives, aggressive marketing companies, and various third party

renters and exchangers of this data.                                                  Deleted: data aggregators, data miners, data brokers, data
                                                                                      appenders, and other third parties
                                                                                      Deleted:
         51.     These factual allegations are corroborated by publicly available

evidence. For instance, as shown in the screenshot below, the Personal Viewing

Information of 212,000 American consumers who purchased Defendants’

prerecorded video products, including video cassettes and DVDs, is offered for sale

by Defendants in a “data card” posted by Defendants on the website of NextMark,

Inc. (“NextMark”) at a base price of “$105.00/M [per thousand records]” (10.5 cents   Deleted: – one of many traffickers of this type of Personal
                                                                                      Viewing Information –

each):




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See Exhibit A hereto.                                                                     Deleted: ¶


      52.     The “OLDIES.com Mailing list” that Defendants have advertised for           Deleted: offered for sale


rental, sale, and exchange on NextMark, shown in the screenshot above, contains the       Deleted: by


Personal Viewing Information of each of the 212,000 consumers whose information           Deleted: for
                                                                                          Deleted: American

appears on the list, including each person’s name and address as well as the particular   Deleted: , postal state and zip code, e-mail address,
                                                                                          Deleted: gender, and age,

prerecorded audio-visual product(s) they purchased from Defendants’ website (i.e.,        Deleted: particular


the titles of the video cassettes and DVDs purchased) and the amount of money they

spent on those purchases.




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      53.     During the relevant time period, Defendants have rented, sold, and       Deleted: As a result of Defendants’ data compiling and
                                                                                       sharing practices

exchanged lists containing their customers’ Personal Viewing Information to various

third parties interested in acquiring this data, including data appenders, data        Deleted: ,


aggregators, data brokers, data cooperatives, aggressive marketing companies, and

various third party renters and exchangers of this data.                               Deleted: companies have obtained and continue to obtain
                                                                                       the Personal Viewing Information of Defendants’ customers,
                                                                                       together with additional sensitive personal information that
      54.     Defendants did not seek Plaintiff’s or any other customers’ prior        has been appended thereto by data appenders and others.
                                                                                       Deleted: <#>Plaintiff is informed and believes, and
                                                                                       thereupon alleges, that numerous third parties to whom
written consent to the disclosure of their Personal Viewing Information (in writing    Defendants have transmitted and/or otherwise disclosed their
                                                                                       customers’ Personal Viewing Information, either directly or
                                                                                       indirectly through an intermediary or intermediaries, have in
or otherwise) to these third parties, and their customers remain unaware that their    turn sold, rented, transmitted, or otherwise disclosed that
                                                                                       Personal Viewing Information (together with other sensitive
                                                                                       personal demographic and lifestyle information appended
Personal Viewing Information and other sensitive data is being sold, rented and        thereto by data appenders and other entities) to other third
                                                                                       parties, including other data brokers, data miners, data
                                                                                       appenders, and marketing companies.¶
exchanged on the open market in this way.                                              Defendants’ direct or indirect mailing list disclosures to third
                                                                                       parties were made either by each Defendant acting in concert
                                                                                       or according to the same policy, system, or plan promulgated
      55.     By renting, selling, exchanging for, or otherwise disclosing lists       by Defendant Gotham and without change by Defendant
                                                                                       MVD or Defendant OSV.¶
                                                                                       Defendants’ disclosures of Personal Viewing Information
containing their customers’ Personal Viewing Information to third parties,             have put their customers at risk of serious harm from
                                                                                       scammers. For example, as a result of Defendants’
                                                                                       disclosures of Personal Viewing Information, any person or
                                                                                       entity could buy a list with the names of all men residing in a
Defendants knowingly violated the VPPA on an enormous scale.                           particular zip code who have spent $100 or more on video
                                                                                       cassettes or DVDs during the past 12 months. Such a list is
                                                                                       available for sale for approximately $72.00 per thousand
       IV.    Defendants Use the Meta Pixel to Systematically Disclose Their           customers listed. ¶

                   Customers’ Personal Viewing Information to Meta

       56.    Additionally, throughout the relevant time period, Defendants violated

 the VPPA by systematically transmitting Plaintiff’s and the Class members’

 Personal Viewing Information to Meta through the Pixel technology that

 Defendants intentionally installed on their oldies.com website.




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                                        The Meta Pixel                                           Formatted: No bullets or numbering



           57.    On February 4, 2004, Mark Zuckerberg and others launched Facebook,

 now known as “Meta”.24 Meta is now the world’s largest social media platform. To

 create a Meta account, a person must provide, inter alia, his or her first and last

 name, birth date, gender, and phone number or email address.

           58.    The Meta Pixel, first introduced in 2013 as the “Facebook Pixel,” is a

 unique string of code that companies can embed on their websites to monitor and

 track the actions taken by visitors to their websites and to report them back to Meta.

 This allows companies like Defendants to build detailed profiles about their

 customers and to serve them with highly targeted advertising.

           59.    Additionally, a Meta Pixel installed on a company’s website allows

 Meta to “match [] website visitors to their respective Facebook User accounts.”25

 This is because Meta has assigned to each of their users an “FID” number – a unique

 and persistent identifier that allows anyone to look up the user’s unique Meta profile

 and thus identify the user by name26 – and because each transmission of information



24
     See Facebook, “Company Info,” available at https://about.fb.com/company-info./.
25
   Meta, “Get Started – Meta Pixel,” available at https://developers.facebook.com/docs/meta-
pixel/get-started/.
26
  For example, Mark Zuckerberg’s FID is reportedly the number “4,” so logging into Facebook
and typing www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s Facebook page:
www.facebook.com/zuck, and all of the additional personally identifiable information contained
therein.

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 made from a company’s website to Meta via the Meta Pixel is accompanied by,

 inter alia, the FID of the website’s visitor.

       60.     The FID is stored in a small piece of code known as a “cookie” that

Meta launches and stores in the internet browsers of each Meta accountholder’s

device(s) to distinguish between website visitors.27

       61.     As Meta’s developer’s guide explains, installing the Meta Pixel on a

website allows Meta to track actions that users with Meta accounts take on the site.

Meta states that “Examples of [these] actions include adding an item to their shopping

cart or making a purchase.”28

       62.     The default configuration of the Meta Pixel, which is what Defendants

used, enables website visitor tracking because the Meta Pixel automatically detects

first-party cookie data from the particular website that the visitor is on and then matches

it with third-party cookie data from Meta such as the c_user cookie that houses a

person’s FID. 29




27
         Meta, How to Create a Custom Audience from Your Customer List, FACEBOOK FOR
BUSINESS, https://www.facebook.com/business/help/471978536642445?id=120537668283214
2 (last visited Nov. 11, 2024).
28
              Meta,            “About            Meta           Pixel,”       available    at
https://www.facebook.com/business/help/742478679120153?id=1205376682832142.

29
        Meta, Business Help Center: About cookie settings for the Meta Pixel,
FACEBOOK, https://www.facebook.com/business/help/471978536642445?id=12053766828321
42 (last visited Nov. 11, 2024).

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           63.     Meta’s Business Tools Terms govern the use of Meta’s Business Tools,

including the Meta Pixel.30

           64.     Meta’s Business Tools Terms state that website operators may use Meta’s

Business Tools, including the Meta Pixel, to transmit the “Contact Information” and

“Event Data” of their website visitors to Meta.

           65.     Meta’s Business Tools Terms define “Contact Information” as

“information that personally identifies individuals, such as names, email addresses, and

phone numbers . . . .”31

           66.     Meta’s Business Tools Terms state: “You instruct us to process the

Contact Information solely to match the Contact Information against user IDs [e.g.,

FIDs] (“Matched User IDs”), as well as to combine those user IDs with corresponding

Event Data.”32

           67.     The Business Tools Terms define “Event Data” as, inter alia,

“information that you share about people and the actions that they take on your websites

and apps or in your shops, such as visits to your sites, installations of your apps, and

purchases of your products.”33




30
     Meta, “Meta Business Tools Terms,” available at https://www.facebook.com/legal/technology_terms.
31
     Id.
32
     Id.
33
     Id.



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               68.    Website operators use the Meta Pixel to send information about visitors to

their websites to Meta. Every transmission to Meta accomplished through the Meta

Pixel includes at least two elements: (1) the website visitor’s FID and (2) the webpage's

URL triggering the transmission.

               69.    Depending on the configuration of the Meta Pixel, the website may also

send Event Data to Meta. Defendants have configured the Meta Pixel on the oldies.com               Deleted: their Website


website to send Event Data to Meta.

               70.    When website operators make transmissions to Meta through the Meta

Pixel, none of the following categories of information are hashed or encrypted: the

visitor’s FID, the website URL, or the Event Data.

               71.    Every website operator installing the Meta Pixel must agree to the Meta

Business Tools Terms.34

                72.    Moreover, the Meta Pixel can follow a consumer to different websites

 and across the Internet even after the consumer’s browser history has been cleared.

                73.    Meta has used the Meta Pixel to amass a vast digital database of dossiers

 comprised of highly detailed personally identifying information about each of its

 billions of users worldwide, including information about all of its users’ interactions

 with any of the millions of websites across the Internet on which the Meta Pixel is

 installed. Meta then monetizes this Orwellian database by selling advertisers the


34
     See id.


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 ability to serve highly targeted advertisements to the persons whose personal

 information is contained within it.

        74.    Simply put, if a company chooses to install the Meta Pixel on their

 website, both the company who installed it and Meta (the recipient of the

 information it transmits) are then able to “track [] the people and type of actions

 they take,”35 including, as relevant here, the specific prerecorded video material

 that they purchase on the website.

              A. Defendants Knowingly Use the Meta Pixel to Transmit the
                  Personal Viewing Information of Their Customers to Meta

       75.     To purchase prerecorded video material from Defendants’ oldies.com                Deleted: <#>Defendants sell a wide variety of prerecorded
                                                                                                 video materials, including movies and TV shows in the form
                                                                                                 of DVDs and Blu-rays on their website, www.oldies.com.¶
website, a person must provide at least his or her name, email address, billing                  Deleted: <#>Website


address, and credit or debit card (or other form of payment) information.

       76.    During the purchase process on Defendants’ website, Defendants use –

and have used at all times relevant hereto – the Meta Pixel to disclose to Meta the

unencrypted FID of the person who made the purchase and the specific title of video

material that the person purchased (as well as the URL where such video material is

available for purchase).




35
   Meta, “Retargeting: How to Advertise to Existing Customers with Ads on Facebook,” available
at https://www.facebook.com/business/goals/retargeting?checkpoint_src=any.


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      77.    In order to take advantage of the targeted advertising and other

informational and analytical services offered by Meta, Defendants intentionally

programmed their oldies.com website (by following step-by-step instructions from          Deleted: website


Meta’s website) to include the Meta Pixel code, which systematically transmits to

Meta the FID of each person with a Meta account who purchases prerecorded video

material from Defendants’ website, along with the specific title of the prerecorded

video material that the person purchased.

      78.    With only a person’s FID and the title of the prerecorded video material

(or URL where such material is available for purchase) that the person purchased

from Defendants’ oldies.com website—all of which Defendants knowingly and                 Deleted: website


systematically provide to Meta—any ordinary person could learn the identity of the

person to whom the FID corresponds and the title of the specific prerecorded video

material that the person purchased (and thus requested and obtained). This can be

accomplished simply by accessing the URL www.facebook.com/ and inserting the

person’s FID.

      79.    Defendants’ practices of disclosing the Personal Viewing Information

of their customers to Meta continued unabated for the duration of the two-year period

preceding the filing of this action. At all times relevant hereto, whenever Plaintiff

or any other person purchased prerecorded video material from Defendants’ website,

Defendants disclosed to Meta (inter alia) the specific title of the video material that


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was purchased (including the URL where such material is available for purchase),

along with the FID of the person who purchased it (which, as discussed above,

uniquely identified the person).

      80.    To illustrate Defendants’ disclosures to Meta, when Plaintiff purchased

the “Witchtrap” DVD, the specific title of the prerecorded video, the product code:

70946W, and his request to “checkout” and purchase this DVD was transmitted to

Meta alongside Plaintiff’s FID as seen in the exemplar source code below:




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                                                                                       numbering

      81.    At all times relevant hereto, Defendants knew the Meta Pixel was

disclosing their customers’ Personal Viewing Information to Meta.


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      82.    Although Defendants could easily have programmed their website so

that none of their customers’ Personal Viewing Information is disclosed to Meta,

Defendants instead chose to program their website so that all of their customers’

Personal Viewing Information is disclosed to Meta.

      83.    Before transmitting their customers’ Personal Viewing Information to

Meta, Defendants failed to notify any of them that it would do so, and none of them

have ever consented (in writing or otherwise) to these practices.

      84.    By intentionally disclosing to Meta Plaintiff’s and their other            Formatted: List Paragraph, Indent: Left: 0", First line:
                                                                                        0.5", Outline numbered + Level: 1 + Numbering Style:
                                                                                        1, 2, 3, … + Start at: 1 + Alignment: Left + Aligned at:
customers’ FIDs along with the titles of the specific video materials that they each    -0.42" + Indent at: 0.08"

                                                                                        Deleted: together
purchased, without any of their consent to these practices, Defendants knowingly

violated the VPPA on an enormous scale.                                                 Deleted: ¶
                                                                                        ¶
                                                                                        ¶
                       CLASS ACTION ALLEGATIONS                                         ¶
                                                                                        ¶

      85.     Plaintiff brings this action pursuant to Federal Rules of Civil

Procedure 23(a), (b)(2), and (b)(3) on behalf of himself and seeks to represent two

classes of similarly situated persons (the “Classes”), defined as follows:

      Data Brokerage Class: All persons in the United States who, during                  Deleted:
      the two years preceding the filing of this action, purchased                        Deleted: by Defendants
      prerecorded video material from Defendants and had their Personal                   Deleted: while maintaining an account with Meta
      Viewing Information disclosed by Defendants to a third party.                       Platforms, Inc. f/k/a Facebook, Inc.
                                                                                          Deleted: or services

      Meta Pixel Class: All persons in the United States who, during the                  Deleted: Defendants’
                                                                                          Deleted: www.
      two years preceding the filing of this action, purchased prerecorded
                                                                                          Deleted: W
      video material from the oldies.com website and had their Personal
                                                                                          Moved up [1]: while maintaining an account with
      Viewing Information disclosed by Defendants to Meta via the                         Meta Platforms, Inc. f/k/a Facebook, Inc.
      Meta Pixel technology.                                                              Deleted: or any of their affiliates’ websites


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      86.     Excluded from the Classes are any entity in which Defendants have a

controlling interest, and officers or directors of Defendants.

      87.     Members of each Class are so numerous that their individual joinder

herein is impracticable. On information and belief, members of the Classes number

in at least the tens of thousands. The precise number of members in each Class and

their identities are unknown to Plaintiff at this time but may be determined through

discovery. Members of each Class may be notified of the pendency of this action

by mail and/or publication through the membership records from Defendants.

      88.     Common questions of law and fact exist for all Classes and

predominate over questions affecting only individual class members. Common legal

and factual questions include but are not limited to (a) whether Defendants

knowingly disclosed Plaintiff’s and Class members’ Personal Viewing Information

to a third party; (b) whether Defendants’ conduct violates the Video Privacy             Deleted: (b) whether Defendants embedded the Meta Pixel
                                                                                         on their Website that monitors and tracks actions taken by
                                                                                         visitors to their Website; (c) whether Defendants report the
Protection Act, 18 U.S.C. § 2710; and (c) whether Plaintiff and the Classes are          actions and information of visitors to Meta; (d) whether
                                                                                         Defendants knowingly disclosed Plaintiff’s and Class
                                                                                         members’ Personal Viewing Information to Meta;
entitled to a statutory damage award of $2,500, as provided by the VPPA.                 Deleted: d
                                                                                         Deleted: e

      89.     The named Plaintiff’s claims are typical of the claims of the Classes

in that the Defendants’ conduct toward the putative class is the same. That is,

Defendants knowingly disclosed the Personal Viewing Information of the members           Deleted: their customers’


of each of the Classes to third parties in the same way. Further, the named Plaintiff    Deleted: and knowingly embedded the Meta Pixel on their
                                                                                         Website to monitor and track actions taken by consumers on
                                                                                         their Website and report that to Meta
and members of the Classes all suffered invasions of their statutorily protected right

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to privacy (as afforded by the VPPA), as well as intrusions upon their private affairs

and concerns that would be highly offensive to a reasonable person, as a result of

Defendants’ uniform and wrongful conduct in intentionally disclosing their Private

Purchase Information to third parties.                                                        Deleted: Meta


       90.      Plaintiff is an adequate representative of each of the Classes because

he is interested in the litigation; his interests do not conflict with those of the Classes

he seeks to represent; he has retained competent counsel experienced in prosecuting

class actions; and he intends to prosecute this action vigorously. Plaintiff and his

counsel will fairly and adequately protect the interests of all members of the Classes.       Deleted: each


       91.      The class mechanism is superior to other available means for the fair

and efficient adjudication of Class members’ claims. Each individual Class member

may lack the resources to undergo the burden and expense of individual prosecution

of the complex and extensive litigation necessary to establish Defendants’ liability.

Individualized litigation increases the delay and expense to all parties and multiplies

the burden on the judicial system presented by this case’s complex legal and factual

issues.      Individualized litigation also presents a potential for inconsistent or

contradictory judgments.      In contrast, the class action device presents far fewer

management difficulties and provides the benefits of single adjudication of the

common questions of law and fact, economy of scale, and comprehensive

supervision by a single court on the issue of Defendants’ liability. Class treatment


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of the liability issues will ensure that all claims and claimants are before this Court

for consistent adjudication of the liability issues.

                               CLAIM FOR RELIEF                                             Deleted: ¶
                                                                                            ¶
                                                                                            ¶
        Violation of the Video Privacy Protection Act, (18 U.S.C. § 2710)
                                                                                            Deleted: S
(By Plaintiff, Individually and on Behalf of Members of Both Classes, Against Defendants)
                                                                                            Deleted: Count 1:
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       92.    Plaintiff repeats the allegations asserted in the foregoing paragraphs as
                                                                                            Formatted: Normal, Centered

if fully set forth herein.                                                                  Deleted: paragraphs 1-85



       93.     The VPPA prohibits a “video tape service provider” from knowingly

disclosing “personally identifying information” concerning any “consumer” to a

third party without the “informed, written consent (including through an electronic

means using the Internet) of the consumer.” 18 U.S.C. § 2710.

       94.     As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider”

is “any person, engaged in the business, in or affecting interstate or foreign

commerce, of rental, sale, or delivery of prerecorded video cassette tapes or similar

audiovisual materials[.]” Defendants are “video tape service providers” as defined          Deleted: each a


in 18 U.S.C. § 2710(a)(4) because they engaged in the business of selling and

delivering prerecorded video materials, similar to prerecorded video cassette tapes,

to consumers nationwide.

       95.     As set forth in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any              Deleted: defined


renter, purchaser, or consumer of goods or services from a video tape service

provider.” As alleged above, Plaintiff and members of the Classes are each a

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“consumer” within the meaning of the VPPA because they each purchased

prerecorded video material from Defendants and such material was sold and              Deleted: ’ website that


delivered to them by Defendants.

      96.     As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable

information’ includes information which identifies a person as having requested or

obtained specific video materials or services from a video tape service provider.”

The Personal Viewing Information that Defendants transmitted to the third parties

alleged above constitutes “personally identifiable information” as defined in 18       Deleted: , including Meta,


U.S.C. § 2710(a)(3) because it identified Plaintiff and members of the Classes as an

individual who purchased, and thus “requested or obtained,” specific prerecorded

video material from Defendants via their oldies.com website.

      97.     Defendants knowingly disclosed Plaintiff’s and the Data Brokerage

Class members’ Personal Viewing Information to data appenders, data aggregators,

data brokers, data cooperatives, aggressive marketing companies, and various third

party renters and exchangers of this data. Defendants made such disclosures in

exchange for money and/or other valuable consumer data, for the purpose of

maximizing their profits.                                                              Deleted: data aggregators, data brokers, data appenders
                                                                                       Deleted: because Defendants knowingly rented, sold, or
                                                                                       otherwise disclosed their customers’ Personal Viewing
      98.     Further, Defendants knowingly disclosed Plaintiff’s and Meta Pixel       Information to data aggregators, data miners, data brokers,
                                                                                       data appenders, and other third parties.

Class members’ Personal Viewing Information to Meta via the Meta Pixel

technology because Defendants intentionally installed and programmed the Meta


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Pixel code on their website, knowing that such code would transmit to Meta the titles

of the video materials purchased by its customers coupled with their customers’

unique identifiers (including FIDs).

      99.     Defendants failed to obtain informed written consent from Plaintiff or

members of the Classes authorizing Defendants to disclose their Personal Viewing

Information to any third party. At no time prior to or during the applicable statutory   Deleted: Meta or any third party
                                                                                         Deleted: More specifically, at

period did Defendants obtain from any person who purchased prerecorded video

material or services on their oldies.com website (including Plaintiff or any members     Deleted: from
                                                                                         Deleted: Website

of the Classes) informed, written consent that was given in a form distinct and

separate from any form setting forth other legal or financial obligations of the

consumer, that was given at the time the disclosure is sought or was given in advance

for a set period of time, not to exceed two years or until consent is withdrawn by the

consumer, whichever is sooner, or that was given after Defendants provided an

opportunity, in a clear and conspicuous manner, for the consumer to withdraw

consent on a case-by-case basis or to withdraw consent from ongoing disclosures, at

the consumer’s election. See 18 U.S.C. § 2710(b)(2).

      100.    By knowingly disclosing Plaintiff’s and members of the Classes’

Personal Viewing Information to various third parties, without providing the

requisite notice or obtaining the requisite consent, Defendants violated all of these    Deleted: their


persons’ statutorily protected right to privacy in their Personal Viewing Information.


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      101.    Consequently, Defendants are liable to Plaintiff and members of the

Classes for damages in the statutorily set sum of $2,500. 18 U.S.C. § 2710(c)(2)(A).

                            PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the members of the          Deleted: all others similarly situated


 Classes, seeks a judgment against Defendants as follows:

          a) For an order certifying the Classes under Rule 23 of the Federal Rules
             of Civil Procedure and naming Plaintiff as representative of the               Deleted: s

             Classes and Plaintiff’s attorneys as Class Counsel to represent the
             Classes;                                                                  Formatted: Not Expanded by / Condensed by
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          b) For an order declaring that Defendants’ conduct as described herein
             violated the VPPA;                                                        Formatted: Font: Font color: Auto
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          c) For an order finding in favor of Plaintiff and the Classes and against
             Defendants on all counts asserted herein;
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          d) For an award of $2,500.00 to Plaintiff and members of the Classes,
             as provided by 18 U.S.C. § 2710(c);
                                                                                       Formatted: Line spacing: single, No bullets or
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          e) For an order permanently enjoining Defendants from disclosing the
             Personal Viewing Information of their customers to third parties in
             violation of the VPPA;                                                    Formatted: Font: Font color: Auto
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          f) For prejudgment interest on all amounts awarded; and
                                                                                       Formatted: Font: Font color: Auto

          g) For an order awarding reasonable attorneys’ fees and costs to counsel     Formatted: Line spacing: single, No bullets or
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             for Plaintiff and the Classes pursuant to 18 U.S.C. § 2710(c).
                                                                                            Deleted: punitive damages,
                                                                                            Deleted: ,
                                                                                            Deleted: under Rule 23 and
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Dated: March 20, 2025                Respectfully submitted,                    Deleted: March 20, 2025March 20, 2025March 20,
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                                     /s/ William E. Hoese
                                                                                Moved up [2]: Dated: March 6, 2025
                                     William E. Hoese
                                                                                Deleted:     ¶
                                     Elias A. Kohn                              ¶
                                     KOHN, SWIFT & GRAF, P.C.
                                     1600 Market Street, Suite 2500
                                     Philadelphia, PA 19103
                                     Telephone: (215) 238-1700
                                     Facsimile: (215) 238-1986
                                     whoese@kohnswift.com
                                     ekohn@kohnswift.com

                                     -and-

                                     Elliot O. Jackson
                                     Florida Bar No. 1034536
                                     HEDIN LLP
                                     1395 Brickell Ave., Suite 610
                                     Miami, Florida 33131-3302
                                     Telephone: (305) 357-2107
                                     Facsimile: (305) 200-8801
                                     ejackson@hedinllp.com

                                     Counsel for Plaintiff and Putative
                                     Classes




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